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                MRN:            25 STATE 26168
                Date/DTG:       Mar 25, 2025 / 251914Z MAR 25
                From:           SECSTATE WASHDC
                Action:         ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE Immediate
                E.O:            13526
                TAGS:           CVIS, CMGT, PTER, KFRD
                Captions:       SENSITIVE
                Reference:      25 STATE 5914
                Subject:        (U) Action Request: Enhanced Screening and Social Media Vetting for Visa
                                Applicants


               1. (U) This is an action request. See paragraph 7.

               2. (SBU) SUMMARY: The protection of our nation and its citizens is a
               consular officer's first consideration. Pursuant to the implementation of
               Executive Order (E.O.) 14161 and E.O. 14188, known respectively as
               Protecting the United States from Foreign Terrorists and Other National
               Security and Public Safety Threats and Additional Measures to Combat Anti-
               Semitism, effective immediately, consular officers must refer certain student
               and exchange visitor (F, M, and J) visa applicants to the Fraud Prevention
               Unit (FPU) for a mandatory social media check as described below. As the
               Secretary stated on March 16, "We don't want people in our country that
               are going to be committing crimes and undermining our national security or
               the public safety. It's that simple. Especially people that are here as
               guests. That is what a visa is…It is a visitor into our country. And if you
               violate the terms of your visitation, you are going to leave." The Visa Office
               will host webinars for consular officers to discuss this guidance on April 3
               and April 4, 2025. END SUMMARY.

               3. (SBU) Consular Officers Play a Critical Role in Protecting National
               Security: As part of screening every case for potential ineligibilities, consular
               officers MUST ADDRESS any derogatory information indicating that a visa




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               applicant may be subject to the terrorism-related ineligibility grounds of the
               Immigration and Nationality Act (INA). This includes advocating for,
               sympathizing with, or persuading others to endorse or espouse terrorist
               activities or support a DESIGNATED FOREIGN TERRORIST ORGANIZATION
               (FTO).

               4. (SBU) Every Visa Decision is a National Security Decision: In Ref A, the
               Visa Office directed consular officers to maintain extra vigilance and to
               comprehensively review and screen every visa applicant for potential
               security and non-security related ineligibilities including to assess whether
               the applicant poses a threat to U.S. national security. Any nonimmigrant
               visa applicant who has not established to a consular officer's satisfaction
               that the applicant meets all standards required in that visa classification
               should be refused under 214(b), as appropriate. This includes establishing
               that the applicant does not intend to engage in activities inconsistent with
               the requested visa status. If 214(b) does not apply to the visa classification,
               consular officers should refuse any nonimmigrant or immigrant visa case
               presenting such concerns under section 221(g) of the INA for further review
               of additional ineligibility grounds,                    LE
                     LE        as appropriate.

               5. (U) This was reflected well by the Secretary's statement on March 16, that
               "when you apply to enter the United States and you get a visa, you are a
               guest…if you tell us when you apply for a visa, 'I'm coming to the U.S. to
               participate in pro-Hamas events,' that runs counter to the foreign policy
               interest of the United States…if you had told us you were going to do that,
               we never would have given you the visa."

               6. (SBU) Situations that Cast Doubt on Students' Intent or Credibility: As
               described in 9 FAM 402.5-5(C), an applicant applying for an F-1 or M-1
               student visa must demonstrate intent to enter the United States solely to
               pursue a full course of study at an approved institution. In addition, J-1 visa
               applicants who are college, university, and other post-secondary students
               are required to pursue a full course of study as described in 9 FAM 402.5-
               6(E)(11). Evidence suggesting a student visa applicant intends to travel to




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               the United States to engage in unlawful activities clearly calls into question
               whether the applicant possesses intent and/or the ability to solely pursue a
               full course of study. While many activities may not fall under the INA's
               definitions of "terrorist activity," you should otherwise consider that
               information in assessing the credibility of a visa applicant's claimed purpose
               of travel. INA section 214(b) requires the applicant to show credibly that all
               activities in which he or she is expected to engage in while in the United
               States are consistent with the specific requirements of their visa
               classification.

               7. (SBU) ACTION REQUEST: Mandatory Social Media Reviews for Students
               and Student Exchange Visitors. Effective immediately, consular officers
               must refer all new or returning F-1, M-1, or student J-1 visa applications
               meeting one or more of the following criteria, that the consular officer has
               determined is otherwise eligible for the requested nonimmigrant status, to
               the FPU via ECAS as described in 7 FAH-1 H-945.4, using the SOCIAL MEDIA
               REVIEW category.                            LE

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               8. (SBU) Documenting the Results of the Social Media Review: If the social
               media review uncovers potentially derogatory information indicating that
               the applicant may not be eligible for a visa, Fraud Prevention Units are
               required to take screenshots of social media findings to the extent it is
               relevant to a visa ineligibility, to preserve the record against the applicant's
               later alteration of the information. Limit screenshots to information
               relevant to connecting the applicant, the applicant's actions, and a visa
               ineligibility.                             LE




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               9. (SBU) Support for Terrorist Organizations - Grounds and Definitions for
               INA 212(a)(3)(B): All consular officers should carefully review 9 FAM 302.6
               to understand the grounds under which an applicant may be ineligible under
               3B, including that an applicant who "endorses or espouses terrorist activity
               or persuades others to endorse or espouse terrorist activity or support a
               terrorist organization" is ineligible. Consular officers should consider these
               grounds and definitions when conducting interviews and pursuing lines of
               inquiry. Because terms in INA 212(a)(3)(B) are broadly defined, consular
               officers should elicit as much pertinent information as possible from visa
               applicants with suspected ties to terrorist organizations or terrorist
               activity. This includes the names of all relevant organizations potentially
               involved in terrorist activity and the applicant's relationship with them (for
               example, by current membership or past financial contributions or other
               support). Evidence that an applicant advocates for terrorist activity, or
               otherwise demonstrates a degree of public approval or public advocacy for
               terrorist activity or a terrorist organization, may be indicative of ineligibility
               under INA 212(a)(3)(B). This may be evident in conduct that bears a hostile
               attitude toward U.S. citizens or U.S. culture (including government,
               institutions, or founding principles). Or it may be evident in advocacy or
               sympathy for foreign terrorist organizations. All of these matters may open
               lines of inquiry regarding the applicant's credibility and purpose of
               travel. Consular officers should inquire into the nature and activities of
               those organizations.                            LE




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               10. (SBU) Intention to Engage in Unlawful Activity: Consular officers are
               also reminded of guidance in 9 FAM 302.5-4 regarding the applicability of
               INA 212(a)(3)(A)(ii) under which a visa applicant is ineligible if the consular
               officer knows or has reason to believe that the applicant is traveling to the
               United States solely, principally, or incidentally to engage in any other
               unlawful activity. Consular officers should take care to enter detailed case
               notes regarding the specific activities expected in the United States and
               request an advisory opinion per 9 FAM 302.5-4(C).

               11. (SBU) Revocations of Valid Visas: If, subsequent to visa issuance,
               information becomes available to post that an individual may no longer be
               eligible for a visa due to particularized information indicating an ineligibility
               under specific INA provisions, including 214(b), post should follow the
               procedures to revoke or request prudential revocation as described in 9
               FAM 403.11 for nonimmigrant visas or 9 FAM 504.12 for immigrant
               visas. The Visa Office reminds posts that consular officers do not have the
               authority to revoke a visa based on a suspected ineligibility or based on
               derogatory information that is insufficient to support an ineligibility finding -
               other than a revocation based on driving under the influence (DUI) - and
               that such cases should be referred           LE         in accordance with 9
               FAM 403.11-5(B) for further review. A consular officer's revocation must be
               based on an actual finding that the individual is ineligible for the visa.

               12. (U) Additional Guidance: The Visa Office will host webinars for consular
               officers to discuss this guidance on Thursday, April 3 and Friday, April 4,
               2025. Invitations with links to these webinars will be sent separately. The
               FAM will be updated to reflect this guidance.

               13. (U) Inquiries: Post must refer any U.S. media inquiries regarding E.O.s to
               CA-Press@state.gov and congressional inquiries regarding E.O.s to
               ConsularOnTheHill@state.gov. Posts may respond to requests from




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               international media regarding E.O.s using CA's cleared press guidance
               located on CA Web, copying CA-PRESS@STATE.GOV.

               14. (U) Minimize considered.


                MINIMIZE CONSIDERED
                Signature:      RUBIO

                XMT:           BASRAH, AMCONSUL; CARACAS, AMEMBASSY; CHENGDU, AMCONSUL;
                               KABUL, AMEMBASSY; MINSK, AMEMBASSY; SANAA, AMEMBASSY; ST
                               PETERSBURG, AMCONSUL; VLADIVOSTOK, AMCONSUL;
                               YEKATERINBURG, AMCONSUL

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